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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DOWNTOWN MUSIC PUBLISHING LLC, OLE MEDIA
MANAGEMENT, L.P., BIG DEAL MUSIC, LLC, :
CYPMP, LLC, PEER INTERNATIONAL CORPORATION, :
PSO LIMITED, PEERMUSIC LTD., PEERMUSIC III,: 19¢ev2426 (DLC)
LTD., PEERTUNES, LTD., SONGS OF PEER LTD.,

RESERVOIR MEDIA MANAGEMENT, INC., THE : ORDER
RICHMOND ORGANIZATION, INC., ROUND AILh
MUSIC LLC, THE ROYALTY NETWORK, INC. ULTRA
INTERNATIONAL MUSIC PUBLISHING, LLC, TUNE
CORE, INC., RALEIGH MUSIC PUBLISHING LLC,
ME GUSTA MUSIC, LLC, STB MUSIC, INC., and
GREENSLEEVES PUBLISHING LIMITED,

 

 

Plaintiffs,
-y-

PELOTON INTERACTIVE, INC.,

 

Defendant.

PELOTON INTERACTIVE, INC.,
Counterclaimant,
-y-

NATIONAL MUSIC PUBLISHERS ASSOCIATION,

INC., BIG DEAL MUSIC, LLC, CYPMP, LLC, :
DOWNTOWN MUSIC PUBLISHING LLC, PSO LIMITED, :
PEER INTERNATIONAL CORP., PEERMUSIC IIi,
LTD., PEERMUSIC, LTD., PEERTUNES, LTD.,
RESERVOIR MEDIA MANAGEMENT, INC., ROUND
HILL MUSTC LLC, SONGS OF PEER, LTD., THE
RICHMOND ORGANIZATION, INC., THE ROYALTY
NETWORK INC., ULTRA INTERNATIONAL MUSIC
PUBILSHING, LLC, and OLE MEDIA MANAGEMENT ,
L.P.,

Counterdefendants.

 
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DENISE COTE, District Judge:

An Opinion and Order filed today granted the Counter—
Defendants’ October 25, 2019 motion to dismiss Peloton’s
counterclaims. It is hereby

ORDERED that the parties shall engage in settlement
discussions through private mediation in February 2020.

Dated: New York, New York
January 29, 2020

   

DENISE COTE
United grates District Judge

 
